UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

 

NORTHEASTERN DIVISION
DAVID CHERRY, Personal Representative )
of the ESTATE OF PAMELA CHERRY, )
DECEASED, )
)
Plaintifi`, )
) CASE NO.

vs. l

) JURY DEMAND
MACON HOSPITAL, INC. d/b/a MACON )
COUNTY GENERAL HOSPITAL and )
HANNA C. ILIA, M.D., )
)
Defendants. )

COMPLAINT

Comes now the Plaintiff, David Cherry, Personal Representative of the Estate of Pamela
Cherry, deceased,by and through his attorneys, D. Bruce Kehoe and Joe Bednarz, Sr., and sues
the Defendants, Macon Hospital, Inc. d/b/a Macon County General Hospital and Hanna C. Ilia,
M.D., for medical malpractice and Wrongful death pursuant to T.C.A. §29-26-121 and §29-26-

122.

PARTIES

1. This cause of action is brought based upon diversity of citizenship as cited in §28
U.S.C.A. 1332, and the matter in controversy exceeds the sum of Seventy-Five Thousand Dollars
($75,000.00), exclusive of interest and costs.

2. Plaintif`f, David Cherry, is a resident of Indianapolis, County ofMarion, State of
Indiana, and is a citizen thereof, having resided for many years at 1152 Fletcher Avenue,
Indianapolis, Indiana, 46203.

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3. Plaintiff, David Cherry, was appointed as the Personal Representative of the
Estate of Pamela Cherry on July 6, 201 1, under Cause No. 49D08-1107-ESOZ-5939, in Marion
County Superior Court, Probate Division.

4. At the time of her death, the decedent, Pamela Cherry, was a resident of
Indianapolis, County of Marion, State of lndiana, and a citizen thereof and resided at 1152
Fletcher Avenue, Indiauapolis, Indiana, 46203. She is survived by her husband, David Cherry
and minor daughter, Stevie Nikole Cherxy.

5. The Defendant, Hanna C. Ilia, M.D., is a citizen of the State of Tennessee, Who
currently and at all times complained of herein was and is licensed to practice medicine in the
State ofTennessee, with his principle place of business at the Farnily Medical Center, PLLC, 207
West Locust Street, Lafayette, Tennessee, 37083.

6. The Defendant Macon Hospital, Inc. d/b/a Macon County General Hospital is a
hospital organized and existing under the laws of the State of Tennessee, Which currently and at
all times complained of herein provided medical services in the State of Tennessee With its
principal place of business at 204 Medical Drive, Lafayette, Tennessee, 37083, and a citizen of
Tennessee.

7. The Piaintiff hereby avers that, through undersigned counsel, he has complied
With the provisions ofTenn. Code Ann. §29-26-121(a) by having mailed on March 13, 2012, by
certified mail, return receipt requested, a Notice of Claim to the Defendant, Hanna C. llia, M.D.,
at the address listed for the Defendant on the Tennessee Department of Health Website, 207 West
Locust Street, Lafayette, Tennessee, 37083. (Affidavit of Sherrie E. Frydell attached hereto as
Exhibit A and incorporated by reference pursuant to T.R.C,P. 10 (c). As Exhibit A confirms, a

legally sufficient Notice of Claim Was sent by certified mail, return receipt requested, to the

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Defendant Hanna C. Ilia, M.D. on March 13, 2012. (Exhr`bits 1 and 2 to Exhibit A). The Notice
of Claim included HIPPA complaint authorizations permitting the Defendant Hanna C. Ilia,
M.D. to obtain the relevant medical records of the claimant, decedent Pamela Cherry, from
Macon County General Hospital. (Exhibit 3 to Exhibit A). The Notice of Claim, and all
attachments thereto, were delivered by the U.S. Postal Service on or about March 15, 2012.
(Exhibit 4 to Exhibit A). Accordingly, the Plaintiff avers that the requirements of Tenn. Code
Ann. §29-26-121 (a) have been satisfied as to the Defendant Hanna C. Ilia, M.D.

8. The Plaintiff further avers that, through undersigned counsel, he has complied
with the provisions of Tenn. Code Ann. §29-26-121(a) by having'mailed on March 13, 2012, by
certified mail, return receipt', a Notice of Claim to the Defendant Macon Hospital, Inc.
d/b/aMacon County General Hospital, at the addresses listed for the Defendant on the Tennessee
Departmentof Health website and the Tennessee Seeretary of` State at: 204 Medical Drive,
Lafayette, Tennessee, 37083, c/o Charles Darnell, Registered Agent and Dennis A. Wolf`ord,
F.A.C.H.E., Administrator. (AfHdavit of` Sherrie E. Frydell, attached hereto as Exhibit B and
incorporated by reference pursuant to T.R.C.P. 10 (c)). Exhibit B confirms that a legally
sufficient Notice of Claim Was sent bycertified mail, return receipt requested, to the Defendant
Macon Hospital, lnc. d/b/aMacon County General Hospital on March 13, 2012. (Exhibits 1 and 2
to Exhibit B). The Notice of Claim included HIPPA compliant authorizations permitting the
Defendant Macon Hospital, Inc. d/b/aMacon County General Hospital to obtain the relevant
medical records of the claimant, decedent Pa.mela Cherry, from Hanna C. Ilia, M.D. (Exhibit 3 to
Exhibit B). The Notice of Claim, and all theattachments thereto, were delivered by the U. S.

Postal Service on March 15, 2012. (Exhibit 4) As is confirmed by EXhibit B, and the exhibits

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thereto, the Plaintiff avers that the requirements of Tenn. Code Ann. §29-26-121(a) have been

satisfied as to theDefendant Macon Hospital, Inc. dfb/aMacon County General Hospital.

CERTIFICATE OF GOOD FAITH

9. The Plaintiff avers that, in accordance With the provisions of Tenn. Code Ann.
§29-26-122, Plaintiff’s counsel has consulted with one (1) or more medical experts who have
provided signed written statements confirming that, upon information and belief, in conformity
with the provisions of Tenn. Code Ann. §29-26-115, they are qualified and competent to
expressexpert opinions in this case and that there is a good faith basis to maintain the instant
actionagainst the Defendants. Attached as Exhibit C is the Plaintiff’s Certificate of Good Faith in
aMedical Malpractice Case.

FACTUAL BACKGROUND

10. While on vacation in Tennessee, claimant, Pamela Cherry began experiencing
chest and jaw pains. She Was taken to the Macon County General Hospital in Lafayette,
Tennessee, and treated by their agents and employees She was seen in the emergency room by
Dr. Hanna Ilia. In the emergency room, her blood was drawn and two EKG tests were
perfonned. Pamela Cherry Was dismissed from the emergency room still with chest and jaw pain
with a tentative diagnosis of acid reflux. The next morning, while making coffee, Pamela Cherry
collapsed and was rushed back to the hospital. From the hospital she Was flown to Vanderbilt
University, Where she died Hom a myocardial infarction on June l, 2011.

ALLEGATIONS OF NEGLIGENCE - HANNA C. ILIA. M.D.
11. The Defendant, Hanna C. llia, M.D., violated the standards of acceptable

professional practice for Laf`ayette, Tennessee or a similar community in providing and/or failing

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to provide reasonable medical care and treatment to decedent, Pamela Cherry. The wrongfill
death of plaintiff was a direct and proximate result of the Defendants’ negligence Without
limiting the specific allegations of negligence, Dr. Hanna Ilia, was specifically negligent
a. failing to obtain an adequate history, including cardiac history;
b. by failing to properly diagnosis and treat Pamela Cherry for signs of a heart
attack;
c. by prematurely dismissing Pamela Cherry from the emergency room;
d. by failing to provide Pamela Cherry with sufficient information regarding her
symptoms and EKG test results;
e. releasing Pamela Cherry in unstable medical condition.

ALLEGATIONS OF NEGLIGENCE - MACON HOSPITAL, INC.
D/B/A MACON COUNTY GENERAL HOSPITAL

12. That through its agents and employees, Defendant, Macon Hospital, Inc. dfb/a
Macon County General Hospital, violated standards of acceptable care in their failure to obtain
an adequate history, perform a physical assessment, report complaints and observations to Dr.
Ilia and for releasing Pamela Cherry in an unstable condition. The wrongful death of Parnela
cherry was a direct and proximate result of the Defendant’s negligence

DAMAGES

13. Pamela Cherry’s death on June 1, 2011 was the direct and proximate result of
Defendants’ failure to comply with the applicable standard of care. Pamela Cherry left surviving
as next of kin her widower, David Cherry, and her minor daughter, Stevie Nikole Cherry. As a
result of Pamela Cherry sustaining injuries and her eventual death, there were incurred medical,
funeral, and burial expenses, and Pamela Cherry suffered mental and physical suffering between

the time of her injury and her death. As a further result of the wrongful death of Pamela Cherry,

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David Cherry and Stevie Nikole Cherry have lost her services and support, her companionship
and acts of love and affection, parental guidance and training, and David’s loss of marital
relationship, all of which they would have otherwise received.
AD DAMNUM

WHEREFORE, David Cherry, Personal Representative of the Estate of Parnela Cherry,
deceased, seeks judgment against the Defendants, Hanna C. Ilia, M.D. and Macon Hospital, Inc.
d/b/ a Macon County General Hospital, for such an amount as Will reasonably compensate them
for the damages incurred in this loss, for costs of this action, and for all other just and proper

relief in the premises, and demands a jury to try this cause.

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Respectfully submitted,

BEDNARZ & BEDNARZ

    

 

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